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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                  CINCINNATI DIVISION



 HUNTER DOSTER, et al.,

         Plaintiffs,
 v.                                                              No. 1:22-cv-00084
                                                             Hon. Matthew W. McFarland
 FRANK KENDALL, et al. ,
         Defendants.



             DEFENDANTS’ NOTICE OF SUPPLEMENTAL DEVELOPMENTS

        Defendants submit this notice to alert the Court about two important developments: two

plaintiffs have now satisfied the COVID-19 vaccine requirement and should be dismissed from the

case; and six proposed intervenors have filed a separate lawsuit in South Carolina raising similar

challenges to the military’s COVID-19 vaccine requirement, so they should not be permitted to

intervene in this suit.

        1.        Two Plaintiffs Have Satisfied the COVID-19 Vaccine Requirement.

        Two named plaintiffs in this case, Connor McCormick and Alex Ramsperger, have completed

their second dose of the Covaxin COVID-19 vaccine and have now satisfied the military’s COVID-

19 vaccination requirements. These facts are relevant to Defendants’ pending motion to dismiss, ECF

No. 51. First, the claims of these two individuals are now moot and they should be dismissed from

the case. Second, and as previously explained, these developments demonstrate why Plaintiffs do not

have ripe claims. Future events did not occur as Plaintiffs Ramsperger and McCormick anticipated

when they filed their complaint—these two Plaintiffs have now satisfied the military’s COVID-19

vaccine requirement in a manner that conforms with their religious beliefs. These facts also

underscore why courts should allow the military’s administrative process play out before issuing any
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injunction: although McCormick’s religious accommodation appeal was denied, Opp’n to MTD, ECF

No. 60, Pg. ID 4245, he did not exhaust available intraservice administrative remedies before coming

into full compliance, and he does not face any discipline or adverse action based on the COVID-19

vaccine requirement. In any event, the claims of these two individuals should now be dismissed.

        2.      At Least Six Proposed Intervenors Have Filed Separate Lawsuits.

        On June 29, 2022, 24 plaintiffs filed a lawsuit in the District of South Carolina against federal

officials, including the Secretary of Defense and the Secretary of the Air Force, challenging various

aspects of the military’s COVID-19 vaccine requirement. Clements et al. v. Austin et al., 2:22-cv-2069-

DCN (D.S.C.). That lawsuit brings claims challenging the military’s COVID-19 requirement pursuant

to the Religious Freedom Restoration Act, the First Amendment’s Free Exercise Clause, and the

Administrative Procedures Act. Six of the plaintiffs in Clements previously moved to intervene in this

lawsuit: Judson Babcock, Josiah Beggs, Jake Ford, Ezra Paul, Caleb Pym, and Rachel Shaffer. Since

these individuals are now plaintiffs in another action pending in a different district that challenges the

same policies on many of the same theories, the Court should not permit them to intervene in this

case.

        These individuals have now chosen a forum to seek to litigate their claims regarding the

military’s COVID-19 vaccine requirement—the District of South Carolina and thus should not be

allowed to intervene here. Allowing them to intervene here while they seek to proceed in South

Carolina would amount to impermissible claim-splitting. The purpose of preventing claim-splitting is

“to protect the defendant from being harassed by repetitive actions based on the same claim See Davis

v. Sun Oil Co., 148 F.3d 606, 613 (6th Cir. 1998); Shaver v. F.W. Woolworth Co., 840 F.2d 1361, 1365 (7th

Cir. 1988) (“the federal definition of a cause of action, when combined with the rule against claim-

splitting, requires that a plaintiff allege in one proceeding all claims for relief arising out of a single

core of operative facts, or be precluded from pursuing those claims in the future.”); Vanover v. NCO
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Fin. Servs., Inc., 857 F.3d 833, 841 (11th Cir. 2017) (“The claim-splitting doctrine thereby “ensures that

a plaintiff may not ‘split up his demand and prosecute it by piecemeal, or present only a portion of

the grounds upon which relief is sought, and leave the rest to be presented in a second suit, if the first

fails.”). Accordingly, these six individuals should not be permitted to intervene in this case.



Dated: July 1, 2022                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2022, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.



                                                   /s/ Zachary A. Avallone
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